720 F.2d 215
    33 Fair Empl.Prac.Cas.  1520, 232 U.S.App.D.C. 40
    Jonesv.Public Defender Service of District of Columbia
    83-1183
    UNITED STATES COURT OF APPEALS DISTRICT OF COLUMBIA CIRCUIT
    10/26/83
    D.C.D.C., 553 F.Supp. 1031
    
      1
      AFFIRMED*
    
    
      
        *
         The judgment or order is accompanied by a Memorandum explanatory of the judgment.  Such memorandum is not included with the opinions of the Court that are printed, and it may not be cited in briefs or memoranda of counsel as precedents, under local rule
      
    
    